             Case 21-10609 Doc 181-1 Filed 09/20/21 Entered 09/20/21 14:42:48 Mailing Matrix Page 1
Label Matrix for local noticing         AIG Specialty Insurance
                                                           of 6Company       Agent Consulting
053L-2                                  c/o Leake & Anderson LLP                    7570 Old Canton Rd., Ste.101
Case 21-10609                           1100 Poydras St., Suite 1700                Madison, MS 39110-6100
Eastern District of Louisiana           New Orleans, LA 70163-1116
New Orleans
Mon Sep 20 13:55:56 CDT 2021
Strategic Value Group, LLC              UTC Laboratories, LLC                       UnitedHealthcare Insurance Company
33530 1st Way S                         935 Gravier Street                          c/o Shipman & Goodwin LLP
Suite 102                               Suite 2020                                  One Constitution Plaza
Federal Way, WA 98003-7332              New Orleans, LA 70112-1656                  Hartford, CT 06103-1803


United States Bankruptcy Court          ADS Systems LLC                             AIG Specialty Insurance Company
Eastern District of Louisiana           30 Veterans Memorial Blvd.                  80 Pine St.
Hale Boggs Federal Building             Kenner, LA 70062-4938                       5th Floor
500 Poydras Street, Suite B-601                                                     New York, NY 10005-1702
New Orleans, LA 70130-3319

AIRGAS USA, LLC                         Aaron McCollough                            Ability Network Inc.
110 West 7th Street, Suite 1300         77 West Wacker Drive                        100 North 6th Street
Tulsa, OK 74119-1106                    Ste 4100                                    Suite 900 A
                                        Chicago, IL 60601-1683                      Minneapolis, MN 55403-1516


Adam Young                              (p)ADVANCED COMPUTER TECHNOLOGIES           Aetna Inc.
556 Jefferson St.                       1333 COLLEGE PARKWAY                        Aaron McCollough
Box 7                                   #111                                        77 West Wacker Drive
Lafayette, LA 70501-6954                GULF BREEZE FL 32563-2711                   Ste 4100
                                                                                    Chicago, IL 60601-1683

Aetna, Inc.                             (p)STATE OF ALABAMA DEPARTMENT OF REVENUE   Alliantgroup, LP
PO Box 784836                           P O BOX 320001                              PO Box 4979
Philadelphia, PA 19178-4836             MONTGOMERY AL 36132-0001                    Houston, TX 77210-4979



Allison J. Diboll                       Amko Fence                                  Anthem Blue Cross Blue Shield
3611 Carondelet St.                     824 Curtis Avenue                           120 Monument Circle
New Orleans, LA 70115-4609              Kenner, LA 70062-6818                       Indianapolis, IN 46204-4902



Arizona Department of Revenue           BCBS Florida                                Baker Donelson
1500 W. Monroe St.                      Attn: MSC410836                             201 St. Charles Ave.
Phoenix, AZ 85007                       PO Box 415000                               Suite 3600
                                        Nashville, TN 37241-5000                    New Orleans, LA 70170-5100


Barry Griffith                          Beyond Lab Services LLC                     Biotage, LLC
7600 Westridge Road                     Attn: Adam Bermudez                         10430 Harris Oaks Blvd.
Roland, AK 72135-9037                   1119 Central Ave.                           Suite C
                                        Metairie, LA 70001-5775                     Charlotte, NC 28269-7518


Brent Wyatt                             Campbell Science                            Cannon Medical, Inc.
909 Poydras St.                         13947 S. Bluff Road                         182 W. 3rd Street
Suite 2000                              Rockton, IL 61072-1301                      Bldg. A
New Orleans, LA 70112-4030                                                          Kenner, LA 70062-7056
             Case 21-10609 Doc 181-1 Filed 09/20/21 Entered 09/20/21 14:42:48 Mailing Matrix Page 2
Cerilliant                              Chris Ralston of 6                   Cigna Healthcare-1
811 Paloma Dr.                          365 Canal St.                        Attn: Refunds
Suite A                                 Suite 2000                           PO Box 182223
Round Rock, TX 78665-2402               New Orleans, LA 70130-6534           Chattanooga, TN 37422-7223


Clarity Diagnostics Laboratories, LLC   Cody Parker                          Comptroller of Public Accounts
1441 Canal Street                       2239 Poydras Street                  C/O Office of the Attorney General
Suite 200                               New Orleans, LA 70119-7561           Bankruptcy - Collections Division MC-008
New Orleans, LA 70112-2714                                                   PO Box 12548
                                                                             Austin TX 78711-2548

Concord Technologies                    Cox Business                         David J. Troy
PO Box 864                              PO Box 919292                        2281 Mahan
Seattle, WA 98111-0864                  Dallas, TX 75391-9292                Ferndale, MI 482201-1134



David Jones                             (p)DELL FINANCIAL SERVICES           Dell Financial Services L.L.C.
2634 Chambers St.                       P O BOX 81577                        C/o Streusand Landon Ozburn Lemmon LLP
New Kensington, PA 15068-3009           AUSTIN TX 78708-1577                 1801 S Mopac Expy., Suite 320
                                                                             Austin, TX 78746


Dependable Refrigeration, LLC           Driven Technologies                  Eatel Business
PO Box 74344                            PO Box 4119                          PO Box 880
Metairie, LA 70033-4344                 Chattanooga, TN 37405-0119           Gonzales, LA 70707-0880



Entergy                                 Entergy New Orleans LLC              Eppendorf North America, Inc.
PO Box 8106                             L-JEF-359                            175 Freshwater Blvd.
Baton Rouge, LA 70891-8108              4809 Jefferson Hwy Ste A             Enfield, CT 06082-4444
                                        New Orleans, LA 70121-3138


FMC Sarasota Coastal                    FedEx                                Fisher Scientific
PO Box 60018                            PO Box 660481                        PO Box 404705
New Orleans, LA 70160-0018              Dallas TX 75266-0481                 Atlanta, GA 30384-4705



GCA Services Group                      Gerald A. Melchiode                  Gerald Hutto
PO Box 534198                           639 Loyola Ave.                      PO Box 345
Atlanta, GA 30353-4198                  Suite 2550                           Fitzgerald GA 31750-0345
                                        New Orleans, LA 70113-7109


Government Navigation Group, Inc.       Gregory Wally                        Gulf Coast Office Products, Inc.
227 W Monroe St.                        11244 Sunnto Lane                    5801 River Oaks Road South
Suite 2100                              Cornelius, NC 28031-7410             New Orleans, LA 70123-2170
Chicago, IL 60606-5017


Hawaii Department of Taxation           Humana 2                             Hyatt Regency
Attn: Payment Section                   PO Box 931655                        c/o John Sousa
PO Box 1530                             Atlanta GA 31193-1655                Hyatt Shared Service Center
Honolulu, HI 96806-1530                                                      830 City Ave.
                                                                             Moore, OK 73160-3806
             Case 21-10609 Doc 181-1 Filed 09/20/21 Entered 09/20/21 14:42:48 Mailing Matrix Page 3
(p)ILLINOIS DEPARTMENT OF REVENUE       Illinois Department of
                                                            of 6
                                                               Revenue       Immunalysis
BANKRUPTCY UNIT                         PO Box 19045                             829 Towne Center Dr.
PO BOX 19035                            Springfield, IL 62794-9045               Pomona, CA 91767-5901
SPRINGFIELD IL 62794-9035


Internal Revenue Service                Iron Mountain                            James Agee
PO Box 7346                             PO Box 915004                            19908 North 101st Place
Philadelphia, PA 19101-7346             Dallas, TX 75391-5004                    Scottsdale, AZ 85255-3310



James G. Rose                           Jamie Rose                               Jeffrey Clayman
8 Onteora Road                          8 Onteora Road                           365 Canal St.
Highland Lakes, NJ 07422-1404           Highland Lakes, NJ 07422-1404            Suite 2000
                                                                                 New Orleans, LA 70130-6534


John Alden Meade                        Kerry J. Miller                          Kristina Balnek
909 Poydras St.                         201 St. Charles Ave.                     6300 University Parkway
Suite 1600                              Suite 4600                               Sarasota, FL 34240-7043
New Orleans, LA 70112-4013              New Orleans, LA 70170-4701


Kushner LaGraize, LLC                   Laporte, APAC                            Life Technologies Corporation
3330 W. Esplanade Ave.                  111 Veterans Memorial Blvd., Suite 600   Bank of America Lockbox Services
Suite 100                               Metairie, LA 70005-3053                  12088 Collection Center Drive
Metairie, LA 70002-3454                                                          Chicago, IL 60693-0001


Louisiana Department of Revenue         Louisiana Pain Specialists               MDCommerce
Attn: Bankruptcy Section                231 W. Esplanade Ave.                    PO Box 1458
PO Box 66658                            Suite B                                  Tacoma, WA 98401-1458
Baton Rouge, LA 70896-6658              Kenner, LA 70065-2580


MY Recruiting, LLC                      Mary E. Roper                            Medical Repair Service
525 St. Charles Ave.                    10839 Perkins Road                       204 Carnation Ave.
Suite 310                               Baton Rouge, LA 70810-1304               Metairie, LA 70001-4339
New Orleans, LA 70130-3409


Microgenics Corporation                 Microsoft Corporation                    Minnesota Department of Revenue
Bank of America                         1 Microsoft Corp.                        PO Box 64649
7055 Collections Center Dr.             Redmond, WA 98052-8300                   Saint Paul, MN 55164-0649
Chicago, IL 60693-0001


Missouri Department of Revenue          Missouri Department of Revenue           My Office Products
PO Box 475                              PO Box 555                               320 Tech Park Dive
Jefferson City, MO 65105-0475           Jefferson City, MO 65105-0555            Suite 100
                                                                                 La Vergne, TN 37086-3647


(p)NFS LEASING INC                      NSF Leasing                              NXXIO, LLC
ATTN LEGAL                              900 Cummings Center - Suite 226-U        1705 Montgomery St.
900 CUMMINGS CENTER                     Beverly, MA 01915-6183                   Mandeville, LA 70448-5345
SUITE 226-U
BEVERLY MA 01915-6183
             Case 21-10609 Doc 181-1 Filed 09/20/21 Entered 09/20/21 14:42:48 Mailing Matrix Page 4
Neighborhood Health Partnership of Florida
                                        New Hampshire Department
                                                           of 6 of Revenue   North Dakota Office of State Tax Commission
3100 SW 145th Avenue                         PO Box 637                               600 E. Blvd Ave.
Suite 200                                    Concord, NH 03302-0637                   Dept. 127
Miramar, FL 33027-6609                                                                Bismarck, ND 58505-0552


Northwestern Mutual                          ODonoghue & ODonoghue LLP                Orchestrate HR
720 East Wisconsin Ave.                      Attn: Charles W. Gilligan                5050 Spring Valley Road
Milwaukee, WI 53202-4703                     5301 Wisconsin Ave. NW                   Dallas, TX 75244-3995
                                             Suite 800
                                             Washington, DC 20015-2000

Pathagility                                  Patrick Ridgeway                         Pel Hughes
PO Box 10535                                 1920 Eastover Drive                      3801 Toulouse St.
Conway, AR 72034-0008                        Jackson, MS 39211-6705                   New Orleans, LA 70119-4829



Pennsylvania Department of Revenue           Perkins Coie                             Pitney Bowes
PO Box 280504                                Attn: Client Accounting                  Purchase Power
Harrisburg, PA 17128-0504                    1201 Third Ave.                          PO Box 371874
                                             Suite 4900                               Pittsburgh, PA 15250-7874
                                             Seattle, WA 98101-3095

Pitney Bowes Inc                             Poydras Healthcare Advisors, LLC         Professional Recruiting, LLC
27 Waterview Dr, 3rd Fl                      935 Gravier Street                       27 Beresford Drive
Shelton CT 06484-4361                        Suite 2020                               Metairie, LA 70001-6157
                                             New Orleans, LA 70112-1656


Ralph Giddins                                Republic Services #842                   Restek Corporation
PO Box 301599                                PO Box 9001099                           PO Box 4276
Dallas, TX 75303-1599                        Louisville, KY 40290-1099                Lancaster, PA 17604-4276



Revolution Data Systems                      Ritz-Carlton New Orleans                 Ryan Ross
70161 Hwy 59                                 Attn: Credit Manager                     1904 Gator Lane
Suite G                                      921 Canal Street                         Ocean Springs, MS 39565-8619
Abita Springs, LA 70420-3706                 New Orleans, LA 70112-2503


Sanpro                                       Shea Harrelson                           Shimadzu Scientific Instruments, Inc.
PO Box 336                                   482 Creek Landing Street                 Dept. 0219
Lakewood, NJ 08701-0336                      Daniel Island, SC 29492-8464             PO Box 120219
                                                                                      Dallas, TX 75312-0219


Sigma Health                                 Slone   Partners                         Sonitrol of New Orleans, Inc.
2246 Wild Valley Dr.                         25050   Riding Plaza                     2217 Ridgelake Dr.
Jackson, MS 39211-6164                       Suite   130-805                          Metairie, LA 70001-2099
                                             South   Riding, VA 20152-5925


Spivey & Company, Inc.                       St. Jude Childrens Research Hospital     (p)STERICYCLE INC
147 Carondelet Street                        262 Danny Thomas Place                   2355 WAUKEGAN ROAD
3rd Floor                                    Memphis, TN 38105-3678                   BANNOCKBURN IL 60015-5501
New Orleans, LA 70130-2586
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Sternberg, Naccari, & White LLC         Tarun Jolly  of 6                    Taylor Shockney
935 Gravier Street                                   3 Audubon Place                                      PO Box 40384
Suite 2020                                           New Orleans, LA 70118-5525                           Portland, OR 97240-0384
New Orleans, LA 70112-1656


Tufts Health Plan                                    United Health Care                                   United Healthcare Services, Inc.
Attn: Refunds                                        PO Box 30555                                         c/o CDM Bankruptcy
PO Box 9185                                          Salt Lake City, UT 84130-0555                        185 Asylum Street-03B
Watertown, MA 02471-9185                                                                                  Hartford, CT 06103-3408


UnitedHealthCare                                     VWR International                                    Wegmann Dazet & Company
Lockbox 945931                                       PO Box 640169                                        111 Veterans Memorial Blvd.
3585 Atlanta Avenue                                  Pittsburgh, PA 15264-0169                            Suite 800
Hapeville, GA 30354-1705                                                                                  Metairie, LA 70005-3036


West Virginia State Tax Department                   West Virginia State Tax Department                   XIFIN
Bankruptcy Unit                                      Revenue Division                                     12225 El Camino Real
P.O. Box 766                                         P.O. Box 2475                                        San Diego, CA 92130-2084
Charleston, WV 25323-0766                            Charleston, WV 25329


Caroline McCaffrey                                   Dwayne M. Murray                                     Laura F. Ashley
Jones Walker LLP                                     Murray & Murray, LLC                                 Jones Walker, et al
201 St. Charles Ave                                  4970 Bluebonnet Blvd., Suite B                       201 St. Charles Avenue
New Orleans, LA 70170-5100                           Baton Rouge, LA 70809-3089                           Suite 4900
                                                                                                          New Orleans, LA 70170-4900

Office of the U.S. Trustee                           Shea Harrelson
400 Poydras Street                                   482 Creek Landing Street
Suite 2110                                           Charleston, SC 29492-8464
New Orleans, LA 70130-3238




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Advanced Computer Technologies, LLC                  (d)Airgas USA, LLC                                   Alabama Department of Revenue
1333 College Pkwy. #111                              PO Box 676015                                        Business Privilege Tax Section
Gulf Breeze, FL 32563                                Dallas, TX 75267-6015                                50 North Ripley Street
                                                                                                          PO Box 327320
                                                                                                          Montgomery, AL 36132-7320

Dell Financial Services                              Illinois Department of Revenue                       NFS Leasing, Inc.
Payment Processing Center                            PO Box 19035                                         900 Cummings Center
PO Box 6547                                          Springfield, IL 62794-9035                           Suite 226-U
Carol Stream, IL 60197-6547                                                                               Beverly, MA 01915


Stericycle
PO Box 6575
Carol Stream, IL 60197
             Case 21-10609 Doc 181-1 Filed 09/20/21 Entered 09/20/21 14:42:48 Mailing Matrix Page 6
                                                     of 6

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Tarun Jolly Enterprises LLC                       (d)Agent Consulting, LLC                             (u)Alison J. Diboll
                                                     7570 Old Canton Road
                                                     Suite 101
                                                     Madison, MS 39110-6100


(d)Strategic Value Group                             (du)Alison J. Diboll                                 (u)Barry Griffith
33530 1st Way S
Suite 102
Federal Way, WA 98003-7332


(d)James Agee                                        (d)Patrick Ridgeway                                  (u)Tarun Jolly
19908 North 101st Place                              1920 Eastover Drive
Scottsdale, AZ 85255-3310                            Jackson, MS 39211-6705



End of Label Matrix
Mailable recipients   136
Bypassed recipients     9
Total                 145
